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11
                           UNITED STATES DISTRICT COURT
12                       SOUTHERN DISTRICT OF CALIFORNIA
13
14   Ms. L., et al.,                                Case No. 18-cv-00428-DMS-MDD

15                 Petitioners-Plaintiffs,
            v.
16                                                  Date Filed: September 18, 2019
     U.S. Immigration and Customs Enforcement
17   (“ICE”), et al.,
                                                    PLAINTIFFS’ REPLY IN
18                                                  SUPPORT OF MOTION TO
                   Respondents-Defendants.
19                                                  ENFORCE PRELIMINARY
                                                    INJUNCTION
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 1                                PRELIMINARY STATEMENT
 2         To clarify the scope of this Motion, Plaintiffs reiterate that they do not ask this
 3   Court to determine whether each of the approximately 1000 children separated since the
 4   injunction were lawfully taken from their parents. Rather, Plaintiffs seek the following
 5   rulings from this Court:
 6         (1) a ruling that the government has incorrectly interpreted this Court’s prior rulings
 7         and that they may not separate based on any criminal history, regardless of severity.
 8         (2) that the Court reiterate that the standard for separating a child is the traditional
 9         due process standard used in the child welfare context: whether there is objective
10         evidence to believe that the parent is genuinely unfit or a danger to her child. As
11         Plaintiffs’ experts have explained, even serious criminal history does not
12         automatically permit separation. Rather, the test is whether that criminal history
13         suggests the parent will be a danger to her child.
14         (3) At this stage, Plaintiffs do not ask the Court to definitively decide the standards
15         for who may be housed in a family detention facility or whether there are
16         alternative means to keep the family together other than family detention. Instead,
17         Plaintiffs ask only that the Court clarify that, given the stakes for parent and child,
18         Defendants must use objective risk assessment tools and may not automatically and
19         routinely separate based on the view that a parent with a criminal history cannot be
20         housed in a family detention facility. As the Court preliminarily observed at the
21         August 16 status hearing, this issue would benefit from the opinions of experts,
22         including those who have thus far submitted declarations in support of Plaintiffs’
23         Motion.
24         (4) While the parties continue to meet and confer concerning Defendants’
25         information-sharing systems, Plaintiffs presently emphasize two things:
26                (a) Plaintiffs cannot agree to receive lists on the sporadic basis they are
27                coming now. Contra Dkt. 464 at 17 n.4. Plaintiffs’ information is now two
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 1                months behind. Advocates for class members rely heavily on these lists to
 2                glean useful information regarding Defendants’ ongoing separation
 3                justifications. Without frequently updated numbers, Plaintiffs cannot work
 4                effectively with separated families.
 5                (b) Any information- sharing must include the lawyers and advocates for both
 6                children and parents. Without this information, those advocates could not
 7                have advocated successfully for the reunification of numerous wrongly
 8                separated families.
 9                                   SUMMARY OF ARGUMENT
10         In opposing Plaintiffs’ limited request for relief, Defendants’ brief makes several
11   key concessions and is conspicuous in what it does not dispute. First, Defendants confirm
12   that under their reading of this Court’s orders, any criminal history (no matter how minor
13   or old) can serve as a basis for separation, because such individuals are categorically
14   excluded from the Class. Dkt. 464 at 3-4. Second, Defendants concede that some of their
15   separation decisions were incorrect, even under their own permissive standards. See, e.g.,
16   Dkt. 464 at 9 n.3, at 22 n.9.
17         Most importantly, Defendants do not contest that they have separated numerous
18   children based on minor offenses, including thefts of $5, minor convictions that resulted in
19   no jail time, and DUI convictions or charges. Instead, Defendants cherry-pick a few cases
20   to dispute. Defendants’ factual version of those few cases is incorrect or incomplete, but
21   the salient point is that Defendants do not contest that their separations are not limited to
22   cases of serious criminal history, much less cases where there is reason to believe the
23   parent is a danger to her child. Nor could they, given that Plaintiffs’ claims are based on
24   Defendants’ own chart listing the reasons for separation.
25         Instead, Defendants attempt to minimize their conduct by noting that although they
26   have now separated approximately 1000 children (including around 200 under the age of
27   five), that number is small compared to the overall number of families who have sought to
28
                                                   2
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 1   migrate through the southern border this past year. Setting aside flaws in Defendants’
 2   statistical presentation (discussed below), Defendants cannot claim that the separation of
 3   approximately 1000 children is a trifling concern, especially given so many of them are of
 4   tender age. As this Court has repeatedly emphasized throughout the litigation, aggregate
 5   statistics cannot obscure the irreparable harm each individual child suffers from
 6   separation.
 7             Defendants also claim that although they believe the Court’s prior rulings allow
 8   them to separate for any criminal offense, they are in fact applying “clear, objective
 9   standards that constitute reasonable exercises of the agency’s discretion.” Dkt. 464 at 1.
10   Defendants’ own chart of separations shows that is not so. Under no conceivable standard
11   is it reasonable to separate young children based on such minor crimes as misdemeanor
12   thefts.
13             Finally, Defendants again invoke their need to preserve safety and order in their
14   family detention facilities as a basis for their separation decisions. But it is critical that
15   Defendants first determine whether the parent and child should be separated because the
16   parent presents a danger to the child. If the parent presents no danger to the child,
17   Defendants must then make a careful decision guided by objective criteria as to whether
18   the parent can be released or placed in the family facility, thereby avoiding the trauma of
19   separation. While the Court can await further expert guidance on this issue, it should make
20   clear that Defendants may not continue to routinely exclude parents with a criminal
21   history from the facility, regardless of whether an objective risk assessment would
22   indicate about the parent.
23             Defendants’ position is that they should be trusted to exercise their discretion,
24   without oversight. But their track record shows that even if such trust were warranted
25   before, it is not now.1
26   1
       Plaintiffs submit two corrected declarations with this brief. The first is from Anthony
27   Enriquez, as his original declaration inadvertently contained a factual error concerning
     the reasons Catholic Charities uncovered for separation in the case he describes in
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                                                      3
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 1                                       ARGUMENT
 2      I.      Defendants’ Attempt to Recharacterize the Issue as a Class Certification
                Problem Is Misguided.
 3
             Defendants contend that Plaintiffs’ Motion is inconsistent with this Court’s class
 4
     certification decision. According to Defendants, “[t]he plain language of the Court’s class
 5
     certification order [] establishes an exclusion from the class that is absolute as to all
 6
     parents with any criminal history.” Dkt. 464 at 15 (emphasis added). Under Defendants’
 7
     view, then, any criminal history—no matter how minor, old, or irrelevant to a parent’s
 8
     ability to care for the child—is an “absolute” license to separate, because such parents are
 9
     without recourse under this Court’s orders.
10
             But, as Plaintiffs have explained, this sweeping reading of the class certification
11
     Order is at odds with the history of this litigation, where the Court has made abundantly
12
     clear that such parents are part of this case. See Dkt. 439-1 at 3-6. This Court’s
13
     preliminary injunction order similarly made clear separation is prohibited absent a finding
14
     that the parent is a danger or unfit. Id.
15
             More fundamentally, Defendants’ effort to characterize Plaintiffs’ Motion as
16
     requiring amendment of the class definition is beside the point. Plaintiffs’ core claim is
17
     that Defendants’ separation decisions are not based on the due process and child welfare
18
     principles this Court laid out in the preliminary injunction, and that further guidance from
19
     the Court is thus required. What Plaintiffs seek at this stage is for this Court to reiterate
20
     and enforce the standard for separation it has already identified. Whether the Court
21
     chooses to do so by further clarifying the preliminary injunction standard or by amending
22
     the class definition is not the critical issue.
23
             Finally, Defendants are incorrect that the Court cannot, if it chooses, deal with these
24
     issues by amending the class definition. Defendants contend that the issues are not
25
26   Paragraph 22. Plaintiffs previously informed Defendants of the error shortly after it was
     discovered, and notified Defendants they would submit a corrected declaration with this
27   brief. The second is from Derek Loh, which includes a proper execution and oath. See
     Dkt. 466 at 9 n.8.
28
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 1   susceptible to class treatment because they involve individualized determinations. But
 2   Plaintiffs’ Motion does not seek individualized and fact-specific determinations from this
 3   Court on whether each of the approximately 1000 individual separations were lawful or
 4   constitutional. Rather, Plaintiffs seek clarification and enforcement of the substantive
 5   standards and procedures that must guide individual separations, which plainly present
 6   issues susceptible of class treatment. As this Court has already found, the constitutional
 7   standard governing Defendants’ separation practices is common to the entire Class,
 8   regardless of their individualized circumstances:
 9         The circumstances of Plaintiffs and their children in this case and the situations
           described in the declarations submitted in support of this motion are evidence there
10         is a common practice at issue here, namely separating migrant parents and children
           and failing to reunite them without a showing the parent is unfit or presents a
11         danger to the child.
12   Dkt. 82 at 12.
13         Courts routinely treat the articulation of the applicable legal standards as amenable
14   to classwide treatment. See, e.g, Unknown Parties v. Johnson, 163 F. Supp. 3d 630, 637
15   (D. Ariz. 2016) (“[T]he question of whether Defendants have violated the applicable legal
16   standard with respect to the treatment of immigration detainees held overnight in [CBP
17   facilities] unquestionably lends itself to classwide resolution”); Krakauer v. Dish Network
18   L.L.C., 311 F.R.D. 384, 396 (M.D.N.C. 2015) (“The question of what legal standard
19   applies . . . is a common question of law.”); Powers v. Stuart-James Co., 707 F. Supp.
20   499, 502 (M.D. Fla. 1989) (ruling that “[t]he legal standards to be applied” is common
21   issue); see also Parsons v. Ryan, 754 F.3d 657, 676 (9th Cir. 2014) (upholding Rule
22   23(b)(2) class where “policies and practices of statewide and systemic application expose
23   all inmates in [] custody to a substantial risk of serious harm”).
24         Likewise, questions of process can also be resolved on a class-wide basis, as the
25   Ninth Circuit and numerous other courts have recognized. See, e.g., Walters v. Reno, 145
26   F.3d 1032, 1045 (9th Cir. 1998) (holding that question of “whether the nationwide
27   procedures used by INS in document fraud proceedings sufficiently apprise aliens of their
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 1   constitutional right to a hearing” was appropriate for classwide resolution); Gorbach v.
 2   Reno, 181 F.R.D. 642, 644 (W.D. Wash. 1998) (certifying nationwide class of persons
 3   contesting validity of administrative denaturalization proceedings); Franco-Gonzales v.
 4   Napolitano, No. 10-cv-02211, 2011 WL 11705815, *1 (C.D. Cal. Nov. 21, 2011)
 5   (certifying class of detained immigrants with serious mental disabilities who face removal
 6   pro se).
 7             In short, the specific mechanism for addressing the proper standards and procedures
 8   for separating families is secondary. Dkt. 439-1 at 19. The critical issue for present
 9   purposes is that this Court’s intervention is required to ensure that Defendants are making
10   separation decisions based on criteria that conform to the settled constitutional principles
11   set out in the preliminary injunction decision.2
12       II.      Defendants’ Exercises of Discretion Are Not Reasonable, as Their Own
13                Evidence and Admissions Confirm.
14             A. Defendants’ Efforts to Downplay the Numbers of Families They Have
15                Separated Are Not Convincing.
16             Defendants seek to minimize their separation practices by focusing on the number
17   of families who came to the border during the last year; in comparison to that number,
18   they say, their “overall rate of separation is .4%.” Dkt. 461 at 1, 5, 20. This number is
19   misleading in several respects: the statistical evidence shows that the monthly rate of
20   separation has been increasing steadily over the last year, even accounting for the number
21   of families who come to the border every month. See Supplemental Declaration of Brooke
22   Watson (Supp. Watson Decl.), Ex. A, ¶¶2-7 (showing that rate of separation from July
23   2018 to June 2019 was over two times greater than expected, even accounting for
24   differences in numbers of families migrating). Notably, moreover, Defendants rely on
25   2
       Defendants suggest that the Court’s “shocks the conscience” analysis does not extend to
26   parents separated due to criminal histories or abuse allegations. Dkt. 464 at 2-3, 16. That
     is not consistent with this Court’s instructions, which explained that due process is
27   violated where the parent’s criminal history does not present a danger to the child. Dkt.
     439-1 at 18-19 (describing Court’s decisions).
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 1   figures that count the number of individuals apprehended, rather than families
 2   apprehended. See Customs Border Protection, Southwest Border Migration FY 2019,
 3   https://tinyurl.com/y65pwj8a (defining “Family Unit” as “the number of individuals
 4   (either a child under 18 years old, parent, or legal guardian) apprehended with a family
 5   member”). If all individuals in the family are to be tallied, then the number separated is
 6   not 955 (which is the number of separated children), but approximately twice that, as each
 7   of these children arrived with a parent.
 8         As importantly, Defendants have not provided evidence of the number of families
 9   who had a criminal history that the government did not separate because they deemed the
10   history too minor. Without that baseline, it is impossible to assess how Defendants have
11   exercised their discretion. Indeed, given the examples of the minor crimes that Defendants
12   have deemed a cause for separation, it is difficult to conceive of what crimes they have
13   identified as insufficient to warrant separation.
14         Moreover, Defendants’ efforts to minimize their unlawful conduct ring hollow in
15   light of the sheer number of families they have separated in the last year. That number was
16   955 as of July 20, 2019, according to the most recent list Defendants provided. The
17   number has now likely climbed well over 1000 families. And hundreds of these families
18   include very young children who have now likely suffered permanent trauma. See, e.g.,
19   Shonkoff Decl., Ex. O to Dkt. 439-1, ¶¶7-8. This figure is also likely an undercount, as
20   Plaintiffs consistently receive reports of families who do not appear on Defendants’ lists.
21   See, e.g., Corrected Declaration of Anthony Enriquez (Corr. Enriquez Decl.), Ex. E, ¶17.
22         Finally, Defendants state that they have reunified approximately 125 of the more
23   than 900 children they separated. Dkt. 464 at 19 (citing Sualog Decl. ¶4). But as
24   Defendants themselves acknowledge, most of these reunifications were “for purposes of
25   removal.” Id. at 7. Defendants’ willingness to reunify families for this purpose
26   underscores that the separations were not based on any determination that the parent posed
27   a danger to the child. Id. (stating that families are reunified for removal “unless ORR
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 1   determines the parent is unfit”). As to those few families who have been reunified in the
 2   United States, Plaintiffs’ declarations show that many of those are attributable to zealous
 3   advocacy on the part of lawyers and representatives for the families, who sometimes
 4   resorted to litigation threats to compel Defendants to act reasonably. See, e.g., Corr.
 5   Enriquez Decl., Ex. E, ¶¶19-21; Dkt. 439-1, Ex. D (Palazzo Decl.), ¶15; Ex. E (Nagda
 6   Decl.), ¶37.a, 37.f; Ex. H (Olivares Decl.), ¶12; Ex. I (Koop Decl.), ¶6.a-d.3
 7         Even if some families were eventually reunified, it was only after weeks or months
 8   of time apart—time that is likely to inflict life-changing scars. Rather than favoring
 9   Defendants, these 125 reunifications are evidence that without oversight of their decisions,
10   families will continue to endure needless trauma.
11         B. Defendants Have Not Refuted Plaintiffs’ Evidence Concerning Widespread
               Flawed Separations.
12
           Plaintiffs identified hundreds of examples of problematic separations from
13
     Defendants’ own lists, and described dozens in the declarations of the attorneys and
14
     advocates.4 Yet Defendants only address a handful of these cases, in some instances
15
     conceding that they separated families in error, even under their own cursory standards.
16
     See, e.g., Dkt. 464 at 9 n.3, at 22 n.9.
17
           Defendants apparently have few direct answers for the remaining cases, despite
18
     opportunity to investigate them. See Dkt. 466 at 8-9. It is clear that Defendants are
19
     separating for minor offenses, and there is a pressing need for this Court to reinforce the
20
     proper standards.
21
               1. Parents separated based on criminal history
22
           Defendants cannot dispute what their own lists show, which is that they have
23
24   3
       Such advocacy is impossible without knowing the basis for the separation. Plaintiffs
     reiterate that such information must be shared systematically and timely with class
25   counsel  and advocates for the children and parents.
     4
       Defendants fault Plaintiffs for only discussing in their declarations some of the
26   hundreds of cases listed in Defendants’ charts. Dkt. 464 at 22, 23. But Plaintiffs could not
27   have possibly located all such cases, nor was there any reason to do so given that
     Defendants themselves supplied the reason for the separations.
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 1   separated numerous parents based on crimes as minor as vehicle offenses, traffic
 2   infractions, drug possession convictions (including marijuana), shoplifting, destruction of
 3   small amounts of property, and resisting arrest. Dkt. 439-1 at 8; id., Ex. A (Watson Decl.),
 4   ¶¶15-24, 35-36. They also do not deny that they have separated based on stale crimes
 5   (sometimes decades old), or vague allegations of “criminal history” not disclosed to
 6   Plaintiffs. Id. at 8-9. And they confirm their view that criminal history is as an “absolute”
 7   justification for separation, because in their opinion such parents have no rights in this
 8   case. Dkt. 464 at 19.
 9         Rather than explaining why any of these separations was constitutionally proper,
10   Defendants claim that they are making “a variety of individualized determinations” that
11   are allegedly consistent with various newly-revealed guidance and criteria. Dkt. 464 at 6-
12   7. To begin, Defendants are disclosing the existence of the guidance and policies for the
13   first time in the context of this Motion, despite Plaintiffs’ repeated requests for the
14   standards Defendants are applying to determine parental fitness or danger to the child.
15   Consequently, it is far from clear when Defendants formally adopted these practices or
16   began consistently applying them in the field, in light of Defendants’ previous resistance
17   to producing them.
18         In any event, there are two flaws with Defendants’ argument. First, the guidance
19   produced to the Court is vague and overbroad, allowing separations where the parent “has
20   a criminal conviction(s) for violent misdemeanors or felonies.” Dkt. 464-4. But as
21   Plaintiffs’ experts have explained, long-settled child welfare and due process standards
22   would never permit separations based on any felony or any violent misdemeanor. Rather,
23   there must be a determination of the parent’s current danger to the child. See Dkt. 439-1,
24   Ex. M (Guggenheim Decl.), ¶3 (explaining that “criminal convictions are relevant only
25   insofar as they bear on the fitness of the parent, and even then must be considered in
26   combination with a totality of factors that go to the best interests of the child,” even “for
27   the most serious crimes”); Ex. E (Nagda Decl.), ¶ 30 (“No state allows for a best interests
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 1   determination to rest solely on a parent’s criminal history.”). Thus, even if Defendants
 2   were faithfully following their own guidance, it would lead to unlawful separations.
 3         Second, the undisputed evidence shows that Defendants are not even following
 4   their own criteria. DHS official Lloyd Easterling offers a list of crimes that would
 5   “generally” not warrant separation, such as “[s]imple thefts, fraud crimes, minor drug or
 6   traffic crimes, or driving while intoxicated.” Dkt. 464-2, ¶ 16; see also id. (averring that
 7   multiple DUI offenses would not justify separation). But again, that is not consistent with
 8   the evidence, which shows that Defendants have separated numerous families on precisely
 9   these bases. See Dkt. 439-1, Ex. A (Watson Decl.), ¶¶ 15-24, 35-36. And notably, the CBP
10   supervisor in the Tucson sector does not include even the limited details concerning
11   separation standards that Easterling discusses. See generally 464-3. The undisputed
12   evidence indicates either that Defendants’ officers are not applying their own guidance, or
13   that Defendants are using a definition of “violent offenses” untethered from any ordinary
14   understanding of that term. Moreover, Defendants admit to separations based on mere
15   allegations and warrants, Dkt. 464 at 13, 23–25, although the guidance only permits
16   separations based on certain criminal convictions, Dkt. 464-4.
17         Defendants alternatively argue that even if they are wrongly separating families,
18   they should be excused from settled standards because they are making decisions based on
19   limited knowledge at the time of initial detention. Dkt. 464 at 7. Yet Plaintiffs’ contention
20   is precisely that even when examined from the perspective of the officer at the time,
21   Defendants’ separations are unlawful under the settled constitutional principles this Court
22   relied on to issue the PI. Vanishingly few of Defendants’ criminal history separations
23   would have been justified at the time of separation. See Halley v. Huckaby, 902 F.3d
24   1136, 1147 (10th Cir. 2018) (prior drug possession and drug convictions did not show
25   imminent risk to child).
26             2. Parents separated based on allegations of abuse
27         Defendants concede that a number of their separations based on supposed parental
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 1   unfitness have turned out to be unfounded. Dkt. 464 at 9 n.3 (reunification did not occur
 2   after mother’s temporary hospitalization ended); id. at 22 n.9 (wrongly separating based
 3   on HIV diagnosis).
 4         Even Defendants’ justifications in the cases they do dispute only underscore how
 5   problematic their determinations are. For L.R.H., Defendants claim that the separation
 6   was justified because the parent was “mentally unstable.” Dkt. 464 at 9. Yet all the I-213
 7   says is that medical staff recommended “further evaluation;” there is no reason given, or
 8   any specific facts provided, as to why this further evaluation necessitated separation. Dkt.
 9   464-1, Ex. H at 68. See Brokaw v. Mercer, 235 F.3d 1000, 1011 (7th Cir. 2000) (stating
10   that “unspecified allegations” of neglect were insufficient to justify separation).
11   Defendants similarly suggest that a mere diagnosis of a psychiatric disability can serve as
12   a basis for separation, see Dkt. 464-5, ¶ 27 (parents were separated because of
13   schizophrenia diagnosis), but again their decisions must be based on specific, articulable
14   reasons why the child is in danger, not stereotypes about mental illness. See August 16,
15   2019 Tr. at 20 (“COURT: As we know with mental health, I think the science shows that
16   the vast majority of people with . . . mental illnesses are not dangerous and may not
17   present a risk to themselves or others.”).
18         Defendants also dispute E.R.R.’s case, who was separated after he was criticized for
19   not changing his baby’s diaper. Dkt. 464 at 10; compare Dkt. 439-1, Ez. D (Palazzo
20   Decl.). But Defendants account largely corroborates the parent’s, since it shows that CBP
21   officers cited the parent for “not know[ing] how to change a diaper” and lacking “basic
22   hygiene” knowledge. Dkt. 464-1, Ex. B at 13. And although Defendants’ documents assert
23   the father was neglectful, the declaration of his attorney makes clear that E.R.R. did
24   everything he could while detained to ensure his daughter got medical care, and that he
25   reasonably allowed his sick child to get extra sleep rather than wake her to change her
26   diaper. Dkt. 439-1 (Palazzo Decl.), ¶¶ 5-15. See Rogers v. San Joaquin, 487 F.3d 1288,
27   1297 (9th Cir. 2007) (holding that social worker’s evaluation of neglect must show
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 1   “imminence of the threat” to justify emergency removal).
 2             3. Parents separated based on parentage doubts
 3         Defendants’ justifications for their separations based on parentage doubts fare no
 4   better. In fact, their heavy reliance on I-213s and other unverified statements by
 5   immigration officers echo their responses to the claims of named Plaintiff Ms. L., who
 6   immigration officers said was not the mother of her daughter. See Dkt. 46-1, ¶ 5 (ICE
 7   officer testifying to contents of Ms L.’s A-file, which stated that “[f]amily makeup is
 8   questionable at best”); Dkt. 44 (DNA results for Ms. L).
 9         In the cases Defendants dispute on the facts, their evidence does not actually
10   contradict the parents’ stories, and merely omits facts that do not favor them. For instance,
11   in Mr. P.D.’s case, while the I-213 says the father admitted to fraudulently claiming his
12   niece was his daughter, Dkt. 464-1, Ex. I, Defendants say nothing about the Guatemalan
13   consulate’s confirmation of the birth certificate’s authenticity, nor do Defendants dispute
14   that his DNA test came back positive. Dkt. 439-1, Ex. H (Olivares Decl.), ¶¶ 22-28. And
15   in Mr. A.B.’s case, Defendants suggest that they discredited Mr. A.B.’s notarized
16   document showing a family relationship because the Honduran consulate could not
17   immediately verify it. Dkt. 464 at 12; Dkt. 464-1, Ex. J at 81. Yet the I-213 nowhere
18   mentions the separate document Mr. A.B. presented explaining why his name does not
19   appear on the birth certificate, and Defendants do not deny that the DNA test confirmed
20   parentage. See Dkt. 439-1, Ex. G, ¶¶ 4, 15 (Lapointe Decl.). In another example,
21   Defendants allege that a father presented a fraudulent birth certificate for his child, but
22   (yet again) a DNA test verified parentage and Defendants do not deny that they eventually
23   agreed to reunification. See Dkt. 464 at 9; Dkt. 439-1, Ex. B (Turner Decl.) ¶ 17.
24         Perhaps recognizing that numerous of their parentage separations were disproven
25   by DNA results, Defendants claim that “operational concerns” block them from broader
26   use of DNA testing. Dkt. 464 at 11; Dkt. 464-7. But fiscal or administrative concerns are
27   not a defense to a constitutional claim for injunctive relief, especially where the stakes are
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 1   so high. See B.K. by next friend Tinsley v. Snyder, 922 F.3d 957, 971 (9th Cir. 2019)
 2   (observing that “even if abating two or more unconstitutional policies is impossible with
 3   limited funds,” court can order state to “expand the pool of existing resources”); Spain v.
 4   Procunier, 600 F.2d 189, 200 (9th Cir. 1979) (explaining that “cost or inconvenience of
 5   providing adequate facilities is not a defense” to Eighth Amendment claim).
 6         More to the point, Defendants make clear that they put the onus on the parent to
 7   meet some unstated burden of proof on parentage, and that Defendants will separate if that
 8   unstated burden is not met. Dkt. 464 at 11 (“Where these steps are unable to resolve an
 9   existing doubt about parentage, CBP will generally separate a child from an adult.”). That
10   is exactly backwards—Defendants must bear the burden of articulating facts that justify
11   taking a child from his parent. Cf. Santosky v. Kramer, 455 U.S. 745, 768 (1982) (state
12   must bear clear and convincing burden to sever parental rights).
13            4. Parents separated based on allegations of gang affiliation
14         Two points are critical about the gang affiliation cases. First, Defendants do not
15   challenge any of the facts set forth in Plaintiffs’ declarations concerning parents separated
16   based on false gang affiliation claims, which show that many of Defendants’ accusations
17   turned out to be wrong. Dkt. 464 at 13, 23. Their half-hearted defense is that they have
18   “only” separated 44 parents on this basis, Dkt. 464 at 13, yet that is cold comfort to the
19   dozens of families who may have been separated on baseless and untested evidence. These
20   cases exemplify why it is critical that Defendants provide the underlying information to
21   the parents and advocates for the children, which would prevent these erroneous
22   separations.
23         Second, as Plaintiffs’ experts explain, mere suspicion of gang “affiliation,” without
24   more, is not a sufficient basis to separate a child. And (as explained further below), such
25   suspicions also do not render parents categorically too dangerous for family detention
26   facilities. Supplemental Declaration of Dora Schriro (Supp. Schriro Decl.), Ex C, ¶¶ 6, 8.
27   That is particularly so in cases from Central America, where an individual may have been
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 1   forced against his or her will into the gang but not have committed any actual crimes.
 2   Given the stakes for these children, there must be an individualized assessment.
 3             5. Parents separated from very young children
 4         Nearly twenty percent of the separations since the preliminary injunction were of
 5   children under five. Defendants respond that merely because children are young does not
 6   mean they cannot be separated from their parents if truly warranted. Dkt. 464 at 25. But,
 7   of course, that was not Plaintiffs’ point. Plaintiffs noted the cases of young children to
 8   show that the trauma to these babies and toddlers is that much greater. See Dkt. 439-1 at
 9   26-27.
10             6. Parents separated based in part on unlawful reentry convictions
11         Finally, Defendants admit (in a long and opaque footnote) that they have not been
12   reunifying parents with their children when the parent has been prosecuted for a Section
13   1326 illegal reentry offense. Dkt. 464 at 18 n. 6. They ask the Court to belatedly create an
14   alternate procedure for such families, but one that only appears to provide for removal at
15   the time of repatriation. See id. at 19 n.7 (describing “endeavor[ing]” to move promptly to
16   remove parent convicted of 1326 and then “anticipat[ing] using reasonable efforts to
17   reunify at the time of removal”). Defendants also do not say whether they are separating
18   parents with a 1326 conviction from a prior (rather than the most recent) apprehension.
19         Plaintiffs’ position—consistent with this Court’s guidance—remains that all parents
20   convicted (at any time) of illegal reentry are not barred from reunification with their
21   children. The Court should reject Defendants’ proposal and reiterate, as had been clear
22   from prior proceedings, that “1325, 1326 collectively would not exclude.” July 16, 2018
23   Tr. (Dkt. 439, Ex. R at 209:18).
24      III.   Defendants’ Family Detention Standards Result in Unlawful Separations.
25         There are two analytically distinct determinations that must be made as to each
26   family. The first is whether the parent is unfit or a danger to her child, such that separation
27   would be warranted even if the parent and child were not detained. The second is whether
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 1   the parent can be released or detained in a family residential facility, such that separation
 2   will occur de facto even if the parent is not a danger. It is critical that the Court clarify the
 3   standards governing the first determination and that Defendants distinguish between the
 4   two determinations. Otherwise, if a family is separated because the government
 5   determines that the parent cannot be released or housed in a family detention facility or
 6   other appropriate setting, the child could remain separated even after the parent is released
 7   from adult detention.
 8         While Plaintiffs believe it is critical in this Motion to clarify the standards for the
 9   first determination, the Court might benefit from further expert testimony on the standards
10   for housing parents in family detention, or whether alternatives to family facilities might
11   be a reasonable possibility, assuming release does not occur. Presently, Plaintiffs make
12   only the following brief points.
13         First, Defendants suggest that they must comply with state detention guidelines.
14   But, as Defendants know, those guidelines currently do not apply to ICE family facilities
15   in Texas.5 The Texas Court of Appeals decision that Defendants cite is stayed pending a
16   petition for rehearing, and the state trial court’s order—which enjoined the licensing of
17   Texas family facilities—remains in effect. See Grassroots Leadership, Inc. v. Texas Dept.
18   of Family and Protective Services, 2016 WL 9234059 (Tex. Dist., Dec. 16, 2016), rev’d
19   by 2018 WL 6187433, at *1 (Tex. App. Nov. 28, 2018), Rule 53.7(f) motion for rehearing
20   filed, Jan 25, 2019.
21         Second, while Defendants may be entitled to a certain amount of deference at their
22   family facilities, any such deference is premised on Defendants’ use of objective,
23   established risk assessment tools to make detention decisions and the need to remain
24   within the constitutional boundaries governing family unity. As Plaintiffs’ experts note, no
25
     5
      The Pennsylvania regulations Defendants cite, Harper Decl., Dkt. 464-5 at ¶ 9 n.3, do
26   not by their own terms regulate what parents may be placed into Berks, but only provide
27   for background checks for employees charged with the care of children. See 55 P.A.
     Code § 3800.51 (criminal history check requirement applies to “staffing.”)
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 1   proper risk assessment would have excluded individuals with the minor or stale offenses
 2   at issue in hundreds of these cases.
 3         Third, with so much at stake for these children, Defendants may not simply declare
 4   that they will bar from these facilities virtually all parents with even minor crimes or mere
 5   allegations. Parents in family residential facilities are intensively monitored and
 6   scrutinized at all times, and the facilities are capable of housing parents with criminal
 7   histories that do not warrant separation. Supp. Schriro Decl. ¶¶4-6. Defendants’ declarant
 8   portrays the facilities as “non-secure” and “open-movement environments” where families
 9   are “free to move” or even simply leave. Harper Decl., Dkt. 464-5 ¶¶4,5, 11. That is far
10   from the reality. Families in both Dilley and Berks are closely supervised and monitored.
11   Supp. Schriro Decl. ¶4, Declaration of Bridget Cambria (Cambria Decl.), Ex. B, ¶¶ 9-19
12   (describing security and monitoring at Berks); Declaration of Shalyn Fluharty (Fluharty
13   Decl.), Ex. C, ¶¶5-14 (same at Dilley). Movement is closely observed. No parent or child
14   can move between building areas without staff permission. Doors are electronically locked
15   and opened only by guards. Cambria Decl. ¶14; Fluharty Decl. ¶10. Families are permitted
16   in outside recreation areas only for limited periods, and with guard escorts and
17   observation. Cambria Decl. ¶16; Fluharty Decl. ¶10. Parents must also remain with their
18   children at all times, with limited exceptions when the children are monitored by
19   staff. Cambria Decl. ¶12; Fluharty Decl. ¶7. In short, both facilities are prison-like and
20   thus able to safely and securely house the parents whom Defendants are separating. Supp.
21   Schriro Decl. ¶4; Cambria Decl. ¶6; Fluharty Decl. ¶5. In addition, many other types of
22   settings may work.
23                                          CONCLUSION
24         The Court should grant Plaintiffs’ Motion to Enforce.
25
     Dated: September 18, 2019                  Respectfully Submitted,
26
                                                /s/Lee Gelernt
27   Bardis Vakili (SBN 247783)                 Lee Gelernt*
28
                                                  16
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 1                                CERTIFICATE OF SERVICE
 2         I hereby certify that on September 18, 2019, I electronically filed the foregoing
 3   with the Clerk for the United States District Court for the Southern District of California
 4   by using the appellate CM/ECF system. A true and correct copy of this brief has been
 5   served via the Court’s CM/ECF system on all counsel of record.
 6                                                 /s/ Lee Gelernt
 7                                                 Lee Gelernt, Esq.
                                                   Dated: September 18, 2019
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    1           Ms. L. et al., v. U.S. Immigration and Customs Enforcement, et al.

    2   EXHIBITS TO PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
    3         MOTION TO ENFORCE PRELIMINARY INJUNCTION
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                    EXHIBIT A




                                                            Exhibit A, Page 20
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12                       SOUTHERN DISTRICT OF CALIFORNIA
13   Ms. L., et al.,
14
                   Petitioners-Plaintiffs,          Case No. 18-cv-00428-DMS-MDD
15          v.
                                                    SUPPLEMENTAL
16   U.S. Immigration and Customs Enforcement       DECLARATION OF BROOKE
     (“ICE”), et al.,                               WATSON
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                   Respondents-Defendants.          CLASS ACTION
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                                                                Exhibit A, Page 21
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 1         I, Brooke Watson, upon my personal knowledge, hereby submit this
 2   supplemental declaration and, if called to testify to these facts, could and would do so
 3   competently.
 4   1.    From        Defendants’        recently-provided        spreadsheet,       entitled
 5   “ACLU_exchange_through7_20_updated_8_12_2019_newrun v2 (8.20.19).xlsx”, I
 6   identified 955 unique children separated from 888 unique parents between June 28,
 7   2018 and July 20, 2019, for a total of 1,843 individuals.
 8   2.    Using the apprehension dates provided in Defendants’ spreadsheet, I tabulated
 9   the number of individuals separated in July 2018, the earliest full month after the
10   Court’s preliminary injunction, and the number of individuals separated in June 2019,
11   the most recent full month for which the government has provided complete data.
12   3.    For the months of July 2018 and June 2019, I additionally obtained data from
13   the Customs and Border Protection’s website1 on the total number of “family units”
14   (which CBP calls “FAMUs”) who either were apprehended between ports of entry on
15   the Southwest Border, or who were deemed inadmissible at a port of entry. Although
16   CBP refers to “family units,” they actually define a “family unit” as an individual
17   apprehended with a family member: “Family Unit represents the number of
18   individuals (either a child under 18 years old, parent, or legal guardian) apprehended
19   with a family member by the U.S. Border Patrol.”2
20   4.    In July 2018, the first full month following the injunction, CBP reported that
21   12,904 individuals who were members of a family unit (FAMU) were apprehended at
22   the Southwest border or deemed inadmissible at ports of entry. According to CBP,
23   60,980 FAMU individuals were apprehended at the Southwest border or were deemed
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25   1
       Sources: https://www.cbp.gov/newsroom/stats/sw-border-migration and
26   https://www.cbp.gov/newsroom/stats/sw-border-migration/fy-2018. Last accessed 17
     September, 2019.
27   2
       Source: https://www.cbp.gov/newsroom/stats/usbp-sw-border-apprehensions
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                                                                       Exhibit A, Page 22
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 1   inadmissible at a port of entry in June 2019. This represents a 4.7-fold increase in total
 2   apprehensions and inadmissible presentations between those two time periods.
 3   5.    In July of 2018, the government separated 23 FAMUs. In June 2019, the
 4   government separated 238 FAMUs. This is more than a 10.3-fold increase in
 5   separations between those two time periods.
 6   6.    The rate of family separations between June of 2019 and July of 2018 when
 7   comparing only apprehensions and inadmissible presentations of family unit
 8   individuals is 2.19 times greater than would be expected based on the overall FAMU
 9   apprehension and inadmissible rate.
10         I declare under penalty of perjury that the foregoing is true and correct under
11   the laws of the United States and New York, based on my personal knowledge.
12   Executed in New York, NY, on September 18, 2019.
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14                                                  /s/ Brooke Watson
                                                    BROOKE WATSON
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                                                                                      18cv0428
                                                                       Exhibit A, Page 23
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                    EXHIBIT B




                                                            Exhibit B, Page 24
 Case 3:18-cv-00428-DMS-MDD Document 471 Filed 09/18/19 PageID.8472 Page 28 of 61



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12                       SOUTHERN DISTRICT OF CALIFORNIA
13   Ms. L., et al.,
14
                   Petitioners-Plaintiffs,          Case No. 18-cv-00428-DMS-MDD
15          v.
                                                    DECLARATION OF BRIDGET
16   U.S. Immigration and Customs Enforcement       CAMBRIA
     (“ICE”), et al.,
17                                                  CLASS ACTION
18                 Respondents-Defendants.

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                                                                Exhibit B, Page 25
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 1         I, Bridget Cambria, make the following declaration based on my personal
 2   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3   the following is true and correct:
 4   1.    My name is Bridget Cambria, Esq. and I am an attorney licensed to practice in
 5   the State of Pennsylvania since May of 2007. I submit this declaration in support of
 6   Plaintiffs’ Motion to Enforce Preliminary Injunction in this case.
 7   2.    I am a graduate of the Roger Williams School of Law, where my studies
 8   focused on immigration and public interest law. For more than 12 years, I have
 9   exclusively practiced immigration law, working with children, families and adults,
10   both in detained and nondetained settings. In my practice, I have represented
11   immigrants, children and families before the immigration courts, the Board of
12   Immigration Appeals, federal district courts, and the Third Circuit.
13   3.    Prior to law school, in or about 2002, I was employed by the County of Berks
14   as a staff member at the Berks County Residential Center (“Berks”), which is one of
15   the facilities that detains families in federal immigration custody.
16   4.    Currently, I am an attorney with and the Executive Director of Aldea – The
17   People’s Justice Center (“Aldea”), a non-profit located in Reading, Pennsylvania.
18   Aldea provides representation to all families detained at Berks. In the last five years, I
19   and other attorneys and staff at Aldea have represented more than one thousand
20   parents and children who have been detained in family detention in the Berks.
21   5.    In the course of my work at Berks, I have become very familiar with the
22   policies and practices of U.S. Immigration and Customs Enforcement (“ICE”) with
23   respect to families detained there. I have visited the facility on numerous occasions to
24   work with clients and am therefore familiar with its operations and protocols.
25   6.    This declaration describes my experiences and observations working with
26   clients detained at Berks. I have also reviewed the declaration of Melissa Harper,
27   which Defendants submitted in support of their opposition to the Motion to Enforce in
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                                                                                       18cv0428
                                                                        Exhibit B, Page 26
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 1   this case, and my testimony addresses some of the factual assertions made in that
 2   declaration concerning Berks.
 3   7.    The declaration of Melissa Harper states that people detained in family facilities
 4   are “not escorted under guard and are free to leave and move around.” Dkt. 464-5, ¶
 5   11. In my opinion, that is not consistent with my observations or the experiences of
 6   families detained at Berks.
 7   8.    Families detained at Berks are closely supervised and monitored. Movement of
 8   every child or parent is observed within the facility. No parent or child can move from
 9   one area of the building to another—for example, from the sleeping area to the legal
10   visitation area—without permission from staff.
11   9.    Estimated times when the detained families are permitted in outside recreation
12   areas are 8:30 AM to 11:30 AM, 1:30 PM to 4:30 PM, and 6:30PM until the sun
13   begins to set. But they are not permitted outside without a guard escort or observation.
14   At 8:00 PM each day, all detained families are restricted to the second floor and no
15   longer permitted free movement through the rest of the facility, even if they are
16   supervised.
17   10.   At times, guards have further restricted movement throughout the facility as a
18   punishment. For example, mothers detained at Berks have previously gone on hunger
19   strikes or filed numerous complaints about their treatment in the facility. In response,
20   facility staff have restricted their movements which include being forbidden from
21   going outside, even under supervision.
22   11.   After 8:00 PM, families are sometimes subjected to 15-minute invasive bed
23   checks, where members of the BCRC staff will enter each room, shine a flashlight in
24   the room and check to see that each resident is accounted for. This can interrupt a
25   family’s sleep. Sometimes guards perform bed checks on the same family multiple
26   times in a single night.
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                                                                                     18cv0428
                                                                       Exhibit B, Page 27
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 1   12.   Doors throughout the facility are equipped with scanning keycard locks and are
 2   locked and unlocked by Berks personnel only. Guards monitor all areas of the facility
 3   and permit detained families to access only certain areas of the facility at certain
 4   times. Residents are not allowed free movement throughout the facility or outside at
 5   various times, including after 8 PM, and during all eating periods.
 6   13.   The declaration of Melissa Harper also states that family detention facilities are
 7   “non-secure” and “[have] doors that do not lock for purposes of egress,” and that “[i]f
 8   a resident wishes to leave, employees are instructed to allow them to do so.” Dkt. 464-
 9   5, ¶ 11. Again, this is not consistent with my observations and the experiences of
10   families detained at Berks, and gives an incomplete picture of the restrictions on exit.
11   14.   To leave the building into the outside yard a child or parent must be escorted or
12   observed throughout their time outside. There are signs posted on exit doors
13   instructing detained families that they cannot exit. There are guards posted at exits
14   during which time movement in those areas is permitted.
15   15.   Families have asked what would happen if they left the facility grounds. They
16   have been told that they will be followed and face federal charges for escape from the
17   facility. So even if a parent felt bold enough to just walk out of the facility, and guards
18   and employees did not directly stop them, this parent would likely be arrested after
19   leaving the facility and charged with misconduct. The statements of Berks staff
20   suggest they could even be charged with criminal offenses for escaping arrest. Thus,
21   parents do not feel free to simply leave and return to the facility at will.
22   16.   Further, I have seen the Berks County Residential Handbook in the course of
23   my work. This Handbook is provided to detained families to inform them of facility
24   policies. The Handbook expressly discusses “Escape,” which it characterizes as a
25   “Major Offense” within the facility, in the same category of offenses as Arson, Rape,
26   Sexual Assault, Hostage Taking, or causing the Death of a Person. The Handbook
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                                                                         Exhibit B, Page 28
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 1   therefore suggests that a person who sought to escape the facility would be subject to
 2   a high level of discipline.
 3   17.   Movement is even restricted preventing families from visiting with their
 4   attorney when that attorney is present in the facility. Most recently the Berks facility
 5   has forbidden visits between counsel and two or more clients at one time, despite
 6   expressly permitting such visits in the legal visit protocols. Therefore, our clients are
 7   not even free to enter the legal visit room, upon their request, when we are present on
 8   site. If movement was unrestricted, certainly our clients would be free to enter the
 9   legal visit room to consult with their attorney at any time. Our families are not.
10         I declare under penalty of perjury that the foregoing is true and correct under
11   the laws of the United States and Pennsylvania, based on my personal knowledge.
12   Executed in Reading, Pennsylvania, on September 18, 2019.
13         I declare under penalty of perjury that the foregoing is true and correct under
14   the laws of the United States and New York, based on my personal knowledge.
15   Executed in New York, NY, on September 18, 2019.
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17                                                   /s/ Bridget Cambria
                                                     BRIDGET CAMBRIA
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                                                                        Exhibit B, Page 29
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                    EXHIBIT C




                                                            Exhibit C, Page 30
 Case 3:18-cv-00428-DMS-MDD Document 471 Filed 09/18/19 PageID.8478 Page 34 of 61



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                           UNITED STATES DISTRICT COURT
12                       SOUTHERN DISTRICT OF CALIFORNIA
13   Ms. L., et al.,
14
                   Petitioners-Plaintiffs,          Case No. 18-cv-00428-DMS-MDD
15          v.
                                                    DECLARATION OF SHALYN
16   U.S. Immigration and Customs Enforcement       FLUHARTY
     (“ICE”), et al.,
17                                                  CLASS ACTION
18                 Respondents-Defendants.

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 1         I am an attorney licensed to practice law in the State of California since 2010.
 2   My practice has focused on representing detained unaccompanied immigrant children,
 3   and detained immigrant families, before the Executive Office of Immigration Review
 4   and the Department of Homeland Security. I currently serve as the Managing Attorney
 5   of the Dilley Pro Bono Project (“DPBP”) in Dilley, Texas. I am above the age of 18
 6   years and not a party to this action. I make this affidavit of my own personal
 7   knowledge, and could and would competently testify to the matters contained herein if
 8   called upon to do so.
 9   1.    In the course of my work providing pro bono legal representation to families
10   detained at the South Texas Family Residential Center (“STFRC”) in Dilley, Texas I
11   have become very familiar with the police and practices of U.S. Immigration and
12   Customs Enforcment (“ICE”) with respect to the families detained there. I have
13   worked with families detained at STFRC since March 2016 and am therefore familiar
14   with ICE’s operations and protocols within the facility.
15   2.    I have also reviewed the declaration of Melissa Harper, which Defendants
16   submitted in support of their opposition to the Motion to Enforce in this case, and my
17   declaration addresses some of the factual assertions made in that declaration
18   concerning Dilley.
19   3.    STFRC is not a licensed childcare facility in the state of Texas. It also does not
20   comply with Flores standards, and thus ICE has not been able to legally hold families
21   with minor children at this facility for more than twenty days
22   4.    The facility is a secure detention facility that operates much like a secure
23   prison. Visitors must go through a metal detector, empty their bags, and place all their
24   items through an X-ray machine before entering the facility. Visitors are not permitted
25   to leave the visitation trailer, and cannot send messages or phone calls to detainees
26   who are not physically present in the visitation space. Video cameras are used to
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                                                                      Exhibit C, Page 32
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 1   monitor all spaces in the facility. Detainees must pay for phone calls. All aspects of
 2   movement within the facility are controlled and monitored by guards.
 3   5.    The declaration of Melissa Harper states that people detained in family facilities
 4   are “not escorted under guard and are free to move around.” In my opinion, that is not
 5   consistent with my observations or the experiences of families detained at Dilley.
 6   6.    Families detained at Dilley are closely supervised and monitored. Movement of
 7   every child or parent is observed within the facility, both by guards who are physically
 8   present and by video cameras. Families are able to move only within certain
 9   designated areas of the facility. They can be summoned to mandatory facility
10   appointments at any time and are escorted to these appointments by guards; they may
11   even be extracted from the middle of their legal consultations to attend these
12   appointments. Families can also be placed in medical isolation, where they may be
13   confined for many consecutive days without the ability to communicate with the
14   outside world.
15   7.    Children are to be supervised by their parents at all times, unless they have been
16   left at the “school” or “daycare” facilities during their hours of operation.
17   Additionally, children are monitored by guards at Dilley at all times.
18   8.    After 8:00 PM, families are frequently subjected to 15-minute invasive bed
19   checks, where employees of CoreCivic, the private prison company contracted by ICE
20   to operate STFRC, shine a flashlight in the room and check to confirm that each
21   resident is accounted for.
22   9.    Doors throughout the facility are equipped with scanning keycard locks and are
23   locked and unlocked by CoreCivic and ICE personnel. Guards monitor all areas of the
24   facility and permit detained families to access only certain areas of the facility at
25   certain times. Residents are not allowed free movement throughout the facility or
26   outside at various times, including after 8 PM, and during all eating periods.
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                                                                       Exhibit C, Page 33
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 1   10.   The declaration of Melissa Harper also states that family detention facilities are
 2   “non-secure” and “[have] doors that do not lock for purposes of egress,” and that “[i]f
 3   a resident wishes to leave, employees are instructed to allow them to do so.” Again,
 4   this is not consistent with my observations and the experiences of families detained at
 5   Dilley, and gives an incomplete picture of the restrictions on exit.
 6   11.   Clients who have attempted to leave through the wrong exit in the visitation
 7   trailer, heading in the direction of the security building, have been immediately
 8   intercepted, yelled at, and stopped by staff. I have personally observed this on many
 9   occasions.
10   12.   Families who have asked what would happen if they left the facility grounds
11   have been told that they will be followed and face federal charges for escape from the
12   facility. Accordingly, even if a parent felt bold enough to just walk out of the facility,
13   and guards and employees did not directly impede their path, this parent would likely
14   be immediately arrested after leaving the facility and charged with misconduct. Thus,
15   parents do not feel free to leave and return to the facility at will, and indeed, are not
16   permitted to do so.
17   13.   ICE’s Family Residential Center standards indicate that access to each part of
18   the facility will be controlled by metal keys or electronic key pads. No resident is
19   permitted to have access to any keys at any time. (See ICE/DRO Residential
20   Standards, “Key and Lock Control.”) The Family Residential Standards instruct
21   facilities to develop contingency plans in the event of an “escape,” which include
22   “immediately notify[ing] local, State, and Federal law enforcement agencies of the
23   escape” and “deploy[ing] staff to primary, secondary, and directional escape posts.”
24   These “escape posts” are to be equipped with, “at minimum,” “(a) Flashlight, (b)
25   Restraints (handcuffs and/or flex-cuffs), (c) Packet containing post location, map(s),
26   fact sheet highlighting arrest authority, search procedures, apprehension techniques,
27   etc., (d) radio; (e) Binoculars (if applicable).” (See ICE/DRO Residential Standards,
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                                                                                      18cv0428
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 1   “Emergency Plans.”) The Family Residential Standards thus clearly indicate that
 2   families are not free to move inside the facility and are not free to leave the facility
 3   without permission.
 4   14.   Based on these observations, there is no reason why individuals with criminal
 5   records or alleged gang connections could not be held at Dilley, which is functionally
 6   a secure facility. Individuals in medical isolation or who are still undergoing initial
 7   processing are already housed apart from the general population.
 8         I declare under penalty of perjury that the foregoing is true and correct under
 9   the laws of the United States and Texas, based on my personal knowledge. Executed
10   in Pearsall, TX, on September 18, 2019
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12                                                 /s/ Shaylyn Fluharty
                                                   SHAYLYN FLUHARTY
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                                                                      Exhibit C, Page 35
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                    EXHIBIT D




                                                            Exhibit D, Page 36
 Case 3:18-cv-00428-DMS-MDD Document 471 Filed 09/18/19 PageID.8484 Page 40 of 61



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                           UNITED STATES DISTRICT COURT
12                       SOUTHERN DISTRICT OF CALIFORNIA
13   Ms. L., et al.,
14
                   Petitioners-Plaintiffs,          Case No. 18-cv-00428-DMS-MDD
15          v.
                                                    DECLARATION OF DORA
16   U.S. Immigration and Customs Enforcement       SCHRIRO
     (“ICE”), et al.,
17                                                  CLASS ACTION
18                 Respondents-Defendants.

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                                                                Exhibit D, Page 37
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 1   1.     I previously submitted a declaration in this case, Dkt. 439-1 at 161. My
 2   credentials and background are set out in that declaration, as well as my C.V., a true
 3   and correct copy of which was submitted at ECF Dkt. 466 at 58-62.
 4   2.     I have reviewed the Declaration of Mellissa Harper, ECF 464-5, stating that
 5   ICE Family Residential Facilities “promote a unique, non-secure, open-movement
 6   environment which permits parents and children to live in a dorm-like setting with
 7   access to education, recreational opportunities, and health care on-site.” Harper Decl.
 8   ¶ 4.
 9   3.     These conditions of confinement are not unique to family detention facilities,
10   but apply more generally to lower custody adult ICE detention and adult correctional
11   facilities as well. Lower custody adult immigration detainees and pretrial and
12   sentenced inmates are also assigned to dormitories and can move about their housing
13   units and onto the recreation yard during lock-out hours and do so without harm to
14   others.
15   4.     Family Residential Centers are as secure facilities as lower-custody adult ICE
16   detention and criminal correctional facilities. Further, ICE Family Residential
17   Standards’ seven components – Safety, Security, Order, Care, Activities, Justice, and
18   Administration and Management – are the same as those for its adult detention
19   facilities. All ICE immigration detention facilities including family residential centers
20   must maintain a secure perimeter, account for the individuals in ICE custody by
21   means of counts and roving patrols, conduct searches, illuminate the grounds and
22   facility throughout the night, regulate visitation, use physical control and restraints
23   when necessary, enforce facility rules and regulations when detainees including
24   children 12 years of age and older warrant such an intervention, identify and prohibit
25   both nuisance and dangerous contraband, and secure all cash, checks and other means
26   of tender as well as personal items of value throughout any detainee’s time in
27   detention.
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                                                                        Exhibit D, Page 38
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 1   5.    In short, these facilities are secure, there is considerable supervision, and a
 2   family cannot simply walk out of one of them.
 3   6.    The Harper declaration also states that the facilities will house only “non-
 4   violent misdemeanor convictions” (Dilley) or “non-violent minor offenses” (Berks).
 5   Based on my familiarity with the immigration detained population, both Family
 6   Residential Facilities—the South Texas Family Residential Center (“Dilley”) and the
 7   Berks County Residential Center—can, in my view, safely and securely house
 8   families with various criminal histories and gang affiliation, as do its adult detention
 9   facilities, based on an individualized assessment, and need not be limited to only non-
10   violent misdemeanors or minor offenses.
11   7.    ICE has a Custody Classification System standard, PBNDS 2.2., which includes
12   a risk assessment, that is used to ascertain the custody classification level for each
13   newly admitted adult detainee as well as to determine their suitability for release to
14   community supervision. The risk assessment produces two scores, risk to public
15   safety, the individual’s propensity for violence, and flight risk, the individual’s
16   likelihood of escape or absconding. ICE also uses the risk assessment to reassess
17   detainees periodically throughout their time in detention. It is unclear whether ICE
18   uses its risk assessment instrument to ascertain a parent’s suitability for assignment to
19   a family residential facility with his or her children. There is no reason that ICE could
20   not use a modified form of this tool to objectively inform its decision-making about
21   families.
22   8.    An objective assessment of risk by ICE in combination with the initial
23   observation of families by CBP while in its custody, is comparable to the custody
24   classification process of newly admitted inmates employed by jail and prison systems.
25   9.    I have also reviewed the June 26 Interim Guidance, and the Easterling
26   Declaration both of which summarize CBP’s process for determining familial
27   relationships and the parents’ present suitability to care for their children. Neither of
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                                                                                       18cv0428
                                                                        Exhibit D, Page 39
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 1   these provides a comprehensive and objective evaluation of relevant information that
 2   is a necessary part of the risk evaluation that is used in correctional settings, and that
 3   can be used to provide an individualized assessment of whether it is necessary to
 4   remove a parent from their child because they cannot be securely housed in a family
 5   detention center. As set out in my prior declaration, such a risk assessment will turn
 6   on the recency, frequency, and seriousness of criminal activity, as well as the recency
 7   and rationale of any gang affiliation.
 8   10.   Finally, neither the Harper and Easterling declarations nor the Interim Guidance
 9   acknowledges families’ motivation to comply with the conditions of detention so as to
10   remain intact and to secure the relief they seek. The incentives to cooperate are
11   significant, and the cost of failure is catastrophic.
12         I declare under penalty of perjury, under the laws of the United States and New
13   York, that to the best of my knowledge the above facts are true and correct.
14   Executed this September 17, 2019, in Bronx, New York.
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16                                                    /s/ Dora B. Schriro
                                                      DR. DORA B. SCHRIRO
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Case 3:18-cv-00428-DMS-MDD Document 471 Filed 09/18/19 PageID.8488 Page 44 of 61




                    EXHIBIT E




                                                            Exhibit F, Page 41
     Case 3:18-cv-00428-DMS-MDD Document 471 Filed 09/18/19 PageID.8489 Page 45 of 61




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14                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
15
16     Ms. L., et al.,
                                                      Case No. 18-cv-00428-DMS-MDD
17                   Petitioners-Plaintiffs,
18            v.                                      CORRECTED DECLARATION
                                                      OF ANTHONY ENRIQUEZ,
19     U.S. Immigration and Customs Enforcement       ESQ., DIRECTOR OF THE
20     (“ICE”), et al.,                               UNACCOMPANIED MINORS
                                                      PROGRAM OF CATHOLIC
21                   Respondents-Defendants.          CHARITIES COMMUNITY
22                                                    SERVICES OF THE
                                                      ARCHDIOCESE OF NEW YORK
23
24                                                    CLASS ACTION

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                                                                  Exhibit F, Page 42
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1
2             I, Anthony Enriquez, Esq., pursuant to 28 U.S.C. § 1746, declare that the
3       following is true and correct:
4                                           Background
5             1.     I am an attorney in good standing with the New York state bar,
6       admitted in 2014. From 2015 to 2016, I was a judicial law clerk for a federal
7       district court judge in the Southern District of New York. I have previously
8       worked as an attorney for unaccompanied immigrant children and for other
9       detained immigrants at multiple nonprofit organizations in New York City. Over
10      the course of my career, I have represented hundreds of immigrant clients and
11      dozens of immigrant advocacy organizations before state and federal courts,
12      including the federal Courts of Appeals and the Supreme Court.
13            2.     I am currently the Director of the Unaccompanied Minors Program of
14      Catholic Charities Community Services of the Archdiocese of New York (CCCS).

15      I have served as Director since January 2018. The Unaccompanied Minors

16      Program employs more than forty individuals, including attorneys, paralegals,

17      social workers, and administrative staff. Our mission is to protect the rights of

18      young immigrants to make informed decisions about their lives. Our mandate is to

19      represent the expressed wishes of our clients before administrative bodies, courts,

20      and other tribunals charged with making decisions regarding our clients’ lives.
              3.     CCCS is a federally subcontracted legal service provider for
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        unaccompanied minors in the custody of the Office of Refugee Resettlement
22
        (ORR) in the New York City area. On an annual basis, CCCS provides Know
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        Your Rights presentations, legal screenings, legal referrals, and direct
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        representation in removal proceedings to thousands of unaccompanied minors
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        detained by ORR in New York State.
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28                                                                       18cv428 DMS (MDD)
                                                                          Exhibit F, Page 43
     Case 3:18-cv-00428-DMS-MDD Document 471 Filed 09/18/19 PageID.8491 Page 47 of 61




1                               Post-Injunction Family Separations
2             4.     Since the winter of 2017, CCCS staff have observed a sharp increase
3       in the number of unaccompanied minors in ORR custody in New York who report
4       having been separated from a parent at the southern border. Likewise, we have
5       increasingly received reports from child welfare staff at shelters under contract
6       with ORR that children too young to talk had been separated from a parent.
7             5.     These separations have continued, even after this Court preliminarily
8       enjoined Defendants, by order of June 26, 2018, “from detaining Class Members in
9       DHS custody without and apart from their minor children, absent a determination
10      that the parent is unfit or presents a danger to the child . . . .” Ms. L v. ICE, 310 F.
11      Supp. 3d 1133, 1149 (S.D. Cal. 2018). From entry of the preliminary injunction to
12      the date of this declaration, CCCS has seen approximately 308 children separated
13      from their parents and placed in New York shelters or foster homes. This amounts
14      to more than a third of the total number of separated children—911—identified by

15      the government during this period. Of these 308 children, 65 (21%) were five

16      years old or younger.

17            6.     This affidavit addresses some of the cases we have seen where the

18      reported grounds for separation do not show that the parent is unfit or a danger. It

19      also addresses difficulties that continue to prevent the reunification of children who

20      were separated from their parents after the entry of this Court’s preliminary
        injunction. It describes how Defendants still do not share information regarding
21
        separated families in a timely and effective manner—both within their own
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        agencies and with attorneys for separated children. It focuses on difficulties in
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        communication with several different entities: the Department of Homeland
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        Security (DHS), the Department of Justice (DOJ), ORR, and the private shelters
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        and foster agencies contracted by ORR to provide temporary care for separated
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        children.
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28                                                                          18cv428 DMS (MDD)
                                                                             Exhibit F, Page 44
     Case 3:18-cv-00428-DMS-MDD Document 471 Filed 09/18/19 PageID.8492 Page 48 of 61




1             7.      We typically meet all separated and unaccompanied children within
2       seven to ten days of their placement by ORR with a private shelter or foster agency
3       in New York City. Generally, we rely on firsthand reports from the children
4       themselves about whether immigration officials separated them from a parent after
5       the family crossed the border. Often, however, the children are too traumatized
6       and fearful to speak to us about family separation at our first meeting. In some
7       cases it takes several meetings before a child reveals to us that he or she has been
8       separated from a parent.
9             8.      In addition, many children placed in New York are too young to
10      explain their circumstances. Because New York City has a large number of
11      Spanish-speaking foster homes, New York has received dozens of preverbal
12      children separated since the PI was issued. We have seen 65 children under six in
13      this cohort in New York City. When a child is preverbal or otherwise non-
14      communicative, we ask staff at the shelter if the child has been separated from a

15      parent at the border. Some of the case workers at the shelters affirmatively inform

16      us whenever they know that a child was separated from a parent, but other case

17      workers provide no information until we ask. Staff at the private shelters tell me

18      that the shelter staff themselves are not always provided information from ORR

19      regarding separated children, including even the fact of the separation itself, much

20      less other important details, such as the location of a parent and reasons for
        separation.
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              9.      In these ongoing separations, even when shelter staff share
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        information with us, they rarely have any information beyond the fact that the child
23
        was separated. For example, shelter staff respond to our inquiries by saying they
24
        do not know either the location of the child’s parent or the reason for the
25
        separation. These two pieces of information are critical to enable us to do our job
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        in advising and representing these children.
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28                                                                        18cv428 DMS (MDD)
                                                                           Exhibit F, Page 45
     Case 3:18-cv-00428-DMS-MDD Document 471 Filed 09/18/19 PageID.8493 Page 49 of 61




1            10.      We need to know the location of the parent for a few key reasons.
2                  x First, the child is nearly always desperate to know. Before separated
3                     children can discuss the decisions they face, they need to learn where
4                     their parent is and whether the parent is safe. We frequently meet
5                     with children who have not spoken to their parents since the
6                     separation, even when the separation occurred weeks earlier, and we
7                     frequently meet with children who have not spoken to their parents in
8                     many weeks, even if they have been in touch since the separation.
9                  x Second, most children tell us not to take any action in their removal
10                    proceedings (and nearly all of them are in removal proceedings) until
11                    we find out what their parent is doing. If mom or dad is headed back
12                    to the family’s home country, the child usually (though not always)
13                    wants to go with him or her. If the parent is pursuing a defense to
14                    removal, the child usually wishes to stay and be reunited with the

15                    parent here in the United States. Thus, we cannot effectively assist

16                    our clients in making decisions about their own immigration cases, or

17                    about whether to pursue or accept placement with family-member

18                    sponsors who may step forward to assume physical custody of them,

19                    until we have information about the separated parent’s immigration

20                    case.
                   x Third, with preverbal or non-communicative children who lack the
21
                      capacity to direct their own representation, it is our ethical obligation
22
                      to try to reach their parents or primary caregivers and seek direction
23
                      from them. See N.Y. Rules of Professional Conduct 1.14(b); see also
24
                      ABA Comm’n on Immigration, Standards for the Custody, Placement
25
                      and Care; Legal Representation; and Adjudication of Unaccompanied
26
                      Alien Children in the United States, Part V.A.1.f. (August 2018) (“If
27
28                                                                         18cv428 DMS (MDD)
                                                                            Exhibit F, Page 46
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1                    the Child does not express the objectives of representation,” it may be
2                    appropriate “to consider the opinions of a Child’s Adult Family
3                    Member.”). We work hard with young children to understand their
4                    wishes, but some are just too young to offer any real guidance, and in
5                    that case, we have an urgent need to speak to their parent.
6       Because the government does not routinely provide us information about the
7       location of the parent, we are left to try to search for this information ourselves so
8       as to properly advise and assist our young clients.
9             11.    When we learn that a child is separated, we inquire with several
10      sources about the basis for separation, the location of the parent, and the status of
11      the parent’s immigration case (for example, whether the parent has already been
12      deported without his or her child). Such sources include the online ICE detainee
13      locator; case workers at the private shelters that contract with ORR to accept
14      immigrant children; ORR staff who oversee these shelters; the DHS trial attorney

15      prosecuting the child’s removal proceedings in immigration court; ICE agent

16      Jessica Jones, who has been specially designated as a liaison for family separation

17      cases; and Defendants, through class counsel at the ACLU. Responses from each

18      of these sources vary from outright silence to information that is so general that it

19      is insufficient to enable us adequately to defend the children’s right to be with their

20      parents.
              12.    The ICE detainee locator is an online database for locating an
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        individual in ICE custody through searches based on the individual’s A number or
22
        name and nationality. Because we do not receive any information from the
23
        government regarding the separated parent’s immigration case, we typically guess
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        what the parent’s A# is by varying one digit above or below the A# of the child.
25
        Sometimes, this method returns no result and we are left unsure as to whether we
26
        used the incorrect number or the parent has already been deported or otherwise
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28                                                                         18cv428 DMS (MDD)
                                                                            Exhibit F, Page 47
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1       released from DHS custody. As an alternative, the locator requires exact matches
2       for the parent’s first and last name. Very young children often cannot supply this
3       information. We can extrapolate from the child’s name, based on Spanish
4       language naming conventions, but this is far from foolproof, and the correct and
5       properly spelled first name is also necessary. Because of these difficulties, we
6       cannot always find parents through the locator.
7             13.    Some of the shelter case workers we interact have told us that they are
8       not regularly informed by DHS or ORR of a parent’s location, projected date of
9       transfer to immigration custody from criminal custody, eligibility for placement in
10      DHS family detention, or release from immigration detention. Regarding reasons
11      for the separation, sometimes the shelter case worker is informed of a general
12      justification, such as “criminal history,” without further specification. Just as
13      often, the case worker has no information on the basis for the separation.
14            14.    Most of our communication with ORR regarding separated children is

15      mediated through case workers at the shelters. But on a few occasions, where we

16      have learned that a separated parent is immediately available to take custody of his

17      or her separated child, we have inquired directly with ORR for information on the

18      continued basis for separation. In these cases, we have sent an email directly to the

19      federal field specialist, the ORR official charged with oversight and approval of

20      release decisions concerning unaccompanied and separated children. Our inquiries
        have never been answered directly by ORR.
21
              15.    DHS trial attorneys in immigration court never share any information
22
        regarding separation. They refuse to share information on parents with the
23
        children or the children’s attorneys. In some instances they have stated that they
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        cannot provide the information due to privacy concerns for the parent. In other
25
        instances they have said that they do not have any information regarding the
26
        parents.
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28                                                                        18cv428 DMS (MDD)
                                                                           Exhibit F, Page 48
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1             16.    ICE agent Jessica Jones sometimes shares information regarding a
2       parent’s location, if the parent is in criminal or immigration custody or has been
3       deported, but not if the parent has been released on parole or bond within the
4       United States. To my knowledge, she typically shares this information with shelter
5       case workers, only upon request and on a case-by-case basis. The shelter case
6       workers then share it with us, in response to our request. We have also contacted
7       her directly for information regarding parents. The information we have received
8       in return is of the same general type shared with shelter case workers.
9             17.    We have also received information about separated parents through
10      Ms. L class counsel. For example, on May 20, we provided the ACLU a list of 92
11      separated children in federal custody in New York City, 27 of whom were five
12      years old or younger. Ms. L counsel had information about the reasons for
13      separation for 56 of the 92 children. On June 20, 2019, we sent the ACLU a list of
14      68 separated children in federal custody in New York about whom we still lacked

15      any information on the basis for the separations. Nineteen of these children were

16      five years old or younger (the youngest was thirteen months old). The ACLU had

17      separation information about only 23 of these 68 children. On July 29, we asked

18      about 80 children for whom we still lacked information on the basis for the

19      separation (15 were five years old or younger; the youngest was ten months old),

20      and we received information about 45 of these children. Thus, in total, we
        received information about only 124 of the 214 children about whom we made
21
        specific inquiries. 1 The information transmitted through this process was often the
22
        first that we or our child clients received about the basis for the separation.
23
24      1
          Twenty-six children appeared on more than one list because the ACLU did not
25      have the information from the government the first time around; that is why the
        total number of unique children is 214 rather than 240, which is the sum of all the
26      names on the three lists.
27
28                                                                         18cv428 DMS (MDD)
                                                                            Exhibit F, Page 49
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1             18.    In some cases, even the information the ACLU had from the
2       government was at so high a level of generality as to offer little guidance about
3       whether or how to pursue reunification for our clients. For example, the
4       government reported that the parent had “criminal history in home country” or
5       “criminal charges (warrant) in Guatemala” or “gang affiliation” or “Arrest Date:
6       05/11/08.” None of the allegations was accompanied by further explanation or
7       description of any evidence in support of the allegations. Nor have we ever been
8       given any number to call or address to email to raise questions or provide contrary
9       information about the government’s stated basis for a separation, in those cases
10      where we learn of such a basis.
11            19.    In some cases, we have received information about separated parents
12      through sheer luck. For example, last fall, a reporter contacted our office because
13      she had been following the story of a separated father in immigration court. We
14      learned from her that one of our clients was that father’s son. At four years old, he

15      was too young to tell us that he’d been separated from his father, and the

16      government had not informed us either. It turned out that the separation,

17      effectuated in September 2018, was based on his father’s alleged gang affiliation,

18      but the immigration court ordered the father released on bond because the

19      government did not produce proof of this allegation. Despite our direct request,

20      ORR refused to release the child to his father. According to the case worker at the
        shelter where the child was held, ORR cited CBP’s allegations in refusing to clear
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        the child for release to his father. ORR agreed to release him after the ACLU
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        informed Defendants’ counsel, on our behalf, that we intended to file a motion in
23
        court the following day. The boy was sent back to his father two weeks after his
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        father was released on bond and eleven weeks after they were separated.
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              20.    In another case, an attorney on our staff was contacted by a personal
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        friend who worked in a law office in another city that had contact with a separated
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28                                                                       18cv428 DMS (MDD)
                                                                          Exhibit F, Page 50
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1       parent. The mother had been hospitalized in California after injuring her leg at the
2       border. While she was in emergency surgery, in September 2018, the government
3       flew her almost-six-year-old daughter across the country to a shelter in New York.
4       The mother was swiftly released from the hospital into the community. We sent
5       ORR a letter requesting immediate release. The case worker responded that ORR
6       believed that the parent was not a Ms. L class member because she had been
7       separated on the basis of illness and therefore ORR would not release the daughter
8       until the mother had gone through the standard sponsorship process. Again, we
9       prepared to go to court for the child, and again, ORR released her to her mother
10      after we had notified Defendants, through the ACLU, of our intention to file the
11      next day. She had been separated from her mother for 79 days.
12            21.    In a third case, CBP separated a father from his ten-year-old son on
13      the basis of the father’s alleged criminal history in his country of origin. The child
14      was an indigenous-language speaker, and he was separated from his father for

15      more than six months, beginning in November 2018. During this separation, the

16      boy began to forget his family’s native language, and he suffered extreme isolation

17      because of his inability to speak Spanish, English, or any language common in the

18      shelter. His father was detained by ICE. The father’s counsel requested a bond

19      hearing in immigration court, where the lawyer provided evidence that the father

20      had no knowledge of or involvement in the incidents alleged in a mass arrest order
        aimed at 52 members of the small indigenous community from which the family
21
        had fled. While DHS apparently believed that this mass order accused the father of
22
        sexual abuse of a minor, this was incorrect. The mass arrest order made no such
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        allegation against the father. The order listed a charge of “sexual assault” without
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        specifying any particular alleged perpetrators. Later proceedings in the home
25
        country revealed that the charge was made by an adult woman against three
26
        unrelated men, not the father in question. The mass order also included an
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28                                                                        18cv428 DMS (MDD)
                                                                           Exhibit F, Page 51
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1       accusation of “mistreatment of underage persons,” apparently based on the
2       presence of children in the location where the events allegedly took place. There
3       was no allegation that children were touched, let alone sexually abused. Moreover,
4       the evidence at the bond hearing showed that the mass arrest order was issued as
5       part of a long-term effort by local officials to harass the indigenous community and
6       deprive them of their hereditary rights to land ownership. There was never a shred
7       of evidence that the father presented a danger to his son, and the child’s appointed
8       advocate unequivocally recommended immediate reunification. The immigration
9       court ordered the father to be released on bond. Once again, however, despite our
10      direct request, ORR refused to release the child to his father, citing CBP’s
11      allegations. Only after we prepared to go to court, and notified Defendants through
12      the ACLU, did ORR agree to release the boy to his father.
13            22.    Based on the information the government provided us through the
14      ACLU, in many cases the children we represent appear to have been separated

15      because of the parents’ minor or unsubstantiated criminal histories. For example,

16      during the winter, a girl who had just turned 17 entered a NY shelter after being

17      separated from her father. The government described his crime as “malicious

18      destruction of property value $5.” The child was reunified with her mother

19      through the sponsorship process after nearly four months in custody. There are

20      currently four children in NY shelters—an eleven-year-old who has been in
        custody more than four months, an eight-year-old who has been in custody nearly
21
        three months, a five-year-old who has been in custody nearly four months, and a
22
        three-year-old who has been in custody since mid-June—whose fathers’ only
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        criminal history, as reported by the government, is illegal entry or reentry. If any
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        of these fathers has been released from criminal to immigration custody, the
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        government has neither informed us nor initiated any attempt at reunification. A
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        seven-year-old girl who has been in shelter since early June was separated from her
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28                                                                       18cv428 DMS (MDD)
                                                                          Exhibit F, Page 52
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1       father, again per the government’s information, because he has a forgery
2       conviction, had fled at some point to avoid prosecution, and had entered the United
3       States before. And an eleven-year-old girl was separated from her father because
4       of an illegal reentry charge and a conviction for disorderly conduct. She spent two
5       months in the shelter before agreeing to move in with an uncle as her sponsor.
6             23.    Sometimes, we see children who have been separated from their
7       biological parents because CBP failed to identify the parent as such. For example,
8       we had a nine-year-old client in one of the New York shelters until July 8, 2019,
9       who appears to have been separated from her father because of a clerical error.
10      According to the child advocate appointed to protect the child’s best interest, CBP
11      wrote the name of a different immigrant on the father’s intake form (while using
12      the father’s actual A#), and then separated the family on the ground that the father
13      was not related to the child. That father remains in detention in an adult facility in
14      Texas, and ORR released the child to her aunt in New York. Similarly, we have a

15      four-year-old boy in shelter in New York at this time because his father, who

16      crossed the border with him, has a speech impediment and could not intelligibly

17      answer the questions posed by CBP. Again, according to the appointed child

18      advocate, the father presented the child’s birth certificate, which includes the

19      father’s name, but the family was separated anyway. The father is detained at the

20      Florence SPC Detention Center in Phoenix, and the child remains in New York,
        although the father’s sister is in Florida and prepared to take them both in.
21
              24.    Among the 308 children CCCS has represented who were separated
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        after this court issued a preliminary injunction, the only ones reunified with parents
23
        in the United States (other than through the sponsorship process) are the three
24
        described above, each of whom had to threaten litigation to secure his or her
25
        release to a parent in the community. None has been reunified with parents in
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        family detention centers. 185 have been released through the sponsorship process,
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28                                                                        18cv428 DMS (MDD)
                                                                           Exhibit F, Page 53
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                    EXHIBIT )




                                                            Exhibit F, Page 55
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13
14                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
15
16     Ms. L., et al.,
                                                      Case No. 18-cv-00428-DMS-MDD
17                   Petitioners-Plaintiffs,
18           v.                                       CORRECTED DECLARATION
                                                      OF DEREK LOH
19     U.S. Immigration and Customs Enforcement
20     (“ICE”), et al.,
21                   Respondents-Defendants.
22
23
24                                                    CLASS ACTION

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26
27
28
                                                                  Exhibit F, Page 56
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       I, Derek Loh, hereby declare as follows, and pursuant to 28 U.S.C. 1746, would
           competently testify to these matters if called to do so:

       1. I am an attorney licensed to practice law in the States of New York and California. I
          am a Managing Attorney at Immigrant Defenders Law Center (“ImmDef”). ImmDef
          provides pro bono removal defense to respondents at the immigration courts in Los
          Angeles, Adelanto, and San Diego, California. In response to the Trump
          Administration’s family separations, ImmDef expanded its services and began
          advocating for the reunification of separated, asylum-seeking families.

       2. ImmDef was retained to represent Mr. B in July of 2018 while he was detained at the
          Adelanto ICE Processing Center. While ImmDef no longer represents Mr. B, I was
          the primary attorney assigned to his case and worked directly with Mr. B.

       3. Mr. B, a non-citizen of the United States, presented himself at the Calexico Point of
          Entry on March 30, 2018 with his then 2-year-old daughter, M. They sought asylum
          and were detained by CBP.

       4. Shortly thereafter, CBP agents separated Mr. B and M because they claimed they
          could not immediately confirm that he is her biological father. M was transferred to
          an Office of Refugee Resettlement facility in the Midwest. Mr. B was eventually
          transferred to Adelanto. The government then administered DNA tests that confirmed
          with 99.99 percent certainty that Mr. B is M’s biological father.

       5. Despite confirming their biological relationship, the government refused to reunify
          Mr. B and M, either outside of detention or within a family detention facility, due to
          Mr. B’s criminal history.

       6. At some point during their separation, Mr. B passed a reasonable fear interview and
          was placed in removal proceedings.

       7. During a client meeting with Mr. B in August of 2018, he provided me with a copy of
          his FBI rap sheet. Mr. B told me that the rap sheet was given to him by the
          Immigration Judge during what I assume was a master calendar hearing.

       8. Based on the FBI rap sheet that I reviewed, I determined that Mr. B’s criminal history
          consisted of the following incidents:
             a. Two California charges from 2002 for assault and disorderly conduct; Mr. B
                 was acquitted of both charges.
             b. A 2005 conviction in Arizona for an open container of alcohol violation.
             c. Two 2006 convictions in Arizona 2006 for a DUI and driving without a
                 license.

       9. Mr. B also had immigration violations: two from 2007, one from 2017, and one from
          2018.

       10. On August 10, 2018, I submitted an application for parole to ICE. Our submission
           included a written recommendation from M’s official child advocate, who was
           appointed by EOIR. The child advocate determined that it was in M’s best interest to
           be reunified with her father. Concerned with the continued separation of Mr. B and


                                                                               Exhibit F, Page 57
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          his daughter, Senator Kamala Harris wrote a letter in support of their reunification,
          and this letter was submitted to ICE with our parole letter. On August 21, 2018, ICE
          informed me that the request for parole was denied.

       11. On September 10, 2018, the ACLU informed me that Mr. B’s name appeared on a list
           of parents who were denied reunification because of criminal history. My
           understanding is that government counsel in Ms. L provided no detailed information
           about the criminal history or underlying evidence to any parties about Mr. B’s
           criminal history. Our understanding of Mr. B’s criminal history, therefore, was only a
           consequence of the documents that were eventually filed during his removal
           proceedings.

       12. Due to his limited criminal record and its remoteness in time, Mr. B was sad,
           frustrated, and angry that the government refused to reunite him with M and instead
           intended to permanently separate him from his child.

       13. On September 25, 2018, Mr. B was granted bond by an Immigration Judge who
           examined his criminal history and concluded that he was not a danger to the
           community. The Immigration Judge concluded that he was not a danger because his
           crimes were nonviolent and his alcohol violations were remote in time. After paying
           bond, Mr. B and his daughter were reunited outside of detention about two weeks
           later.


       I declare under the penalty of perjury under the laws of the United States and California

       that the foregoing is true and correct. Executed this 16th day of September, 2019 in Los
       Angeles, California.




      /s/ Derek Loh
        Derek Loh




                                                                                Exhibit F, Page 58
